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In case you missed it, Attorney General Rob Bonta is suing
petrochemical giant ExxonMobil.


                                                                            EXHIBIT
                                                                                6
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This landmark lawsuit by the state of California seeks to hold one of the
world’s largest polluters accountable for decades of lies and deception that
created and exacerbated the global plastics crisis.

Stand with Rob in holding ExxonMobil accountable: add your name to
support this historic lawsuit today →

ExxonMobil, the largest promoter and producer of polymers used to create
single-use plastics that become waste in California, spent years convincing
the public that recycling makes plastic, including single-use plastic,
sustainable. It doesn’t.
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The truth is that only 5 percent of U.S. plastic waste is recycled. The rest
ends up in our environment, our waterways and oceans, our wildlife,
and even our own bodies.

Exxon Mobil knew, and Exxon Mobil lied. So as California’s top law
enforcement officer and consumer advocate, Rob is doing something about it.

The AG announced this lawsuit yesterday alongside Lou Diamond Phillips at
Climate Week NYC, as a coalition of environmental groups filed their own
lawsuit against ExxonMobil.

Let Rob know you have his back and show the public support for this
critical step to hold big polluters like ExxonMobil accountable: add your
name now!

                                  Add Your Name »

Thanks for standing with us,

Bonta HQ




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